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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND
STEPHEN REISE

v. C.A. No. 04 - 158 ML

ASHBEL T. WALL, et al.

Report and Recommendation

Jacob Hagopian, Senior United States Magistrate Judge

Plaintiff Stephen Reise (“Reise” or “plaintiff”), pro se, an inmate legally incarcerated at the
Rhode Island Department of Corrections (“RIDOC”), filed a complaint and a supplemental
complaint alleging violations of his federally protected rights. Named as defendants are officials and
employees at the RII)OC. Presently before the Court is the motion of the plaintiff for a preliminary
injunction pursuant to Rule 65(a) of the Federal Rules of Civil Procedure. Defendants have obj ected.
This matter has been referred to me pursuant to 28 U.S.C. § 636(b)(1)(B). For the reasons that

follow, I recommend that the motion be denied. I have determined that a hearing is not necessary.

 

w Campbell Soup Co. v. Giles, 47 F.3d 467, 469 (lst Cir. l995)(An evidentiary hearing is not an
indispensable requirement When a court allows or refuses injunctive relief under Fed. R. Civ. P. 65 .)
Discussion

Plaintiff, an inmate confined at the RIDOC, filed a complaint and a supplemental complaint
alleging violations of 42 U.S.C. § 1983 and 42 U.S.C. § 12312. In his complaints, plaintiff
essentially complains of inadequate medical care.

Plaintiff has also filed With the Court a motion for a preliminary injunction pursuant to Fed.

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R. Civ. P. 65 (a). By way of the instant motion, plaintiff seeks to enjoin the defendants from
interfering with his access to the courts, censoring his mail, and retaliating against him.

To determine the appropriateness of granting a preliminary injunction, the First Circuit
employs a “quadripartite test,” taking into account ( l) the potential for immediate, irreparable injury;
(2) the likelihood of success on the merits of the case; (3) the relevant balance of hardships if the
injunction does not issue; and (4) the effect on the public interest of a grant or denial of the motion.
§ Narragansett Indian Tribe v. Guilbert, 934 F.2d 4, 5 ( 15t Cir. 1991). A failure to demonstrate
one of the four requirements necessitates a denial of the motion for preliminary injunctive relief.

Here, plaintii"fhas failed to demonstrate a likelihood of success on the merit of this case. This
writer has recommended summary judgment for the defendants on all of plaintiffs claims. §
Reise v. Wall, C.A. No. 04-1 5 8 ML, Report and Recommendation as to defendant Allen, filed June
6, 2005 (Hagopian, U.S.M.J.); Reise v. Wall, C.A. No. 04-15 8 ML, Report and Recommendation
as to defendant Motola, filed June 6, 2005 (Hagopian, U.S.M.J.); and Reise v. Wall, C.A. No. 04-
158 ML, Report and Recommendation as to defendants Wall, Marroco and White, filed June 13,
2005 (Hagopian, U.S.M.J.). Accordingly, since the plaintiff has failed to surpass the summary
judgment hurdle, he has not shown a likelihood of success on the merits of the case. Accordingly,
plaintiffs motion for a preliminary injunction should be denied. I so recommend.

Conclusion

For the reasons state above, I recommend that plaintiff" s motion for preliminary injunction
be denied. Any objection to this report and recommendation must be specific and must be filed with
the clerk of court within ten days of its receipt. Failure to file timely, specific objections to this report

constitutes waiver of`both the right to review by the district court and the right to appeal the district

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court’s decision. _Uriited States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986)(per curiam); Park

Motor Mart Inc. v. Ford Motor Com an , 616 F.2d 603 (1st Cir. 1980).

 

V""z'r-->
Jacob Hagopian

Senior United States Magistrate Judge
June 16, 2005

 

